      Case 1:24-cv-03109-JLR             Document 121-1       Filed 08/06/24      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


 FEDERAL TRADE COMMISSION,

                            Plaintiff,                  Case No. 1:24-cv-03109-JLR
                  v.


 TAPESTRY, INC.,                                        [PROPOSED] ORDER GRANTING
                                                        PLAINTIFF FEDERAL TRADE
                  and                                   COMMISSION’S MOTION FOR A
                                                        PRELIMINARY INJUNCTION
 CAPRI HOLDINGS LIMITED,

                            Defendants.



       Upon consideration of Plaintiff Federal Trade Commission’s Motion for a Preliminary

Injunction (“Motion”), Defendants’ response thereto, Plaintiff’s reply, the evidence adduced at

the evidentiary hearing in this matter, and all other evidence properly before the Court:

       IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED;

       IT IS FURTHER ORDERED that Defendants Tapestry, Inc. and Capri Holdings Limited

are PRELIMINARILY ENJOINED pursuant to Section 13(b) of the Federal Trade Commission

Act, 15 U.S.C. § 53(b), from consummating their proposed merger, or otherwise effecting a

combination of Defendants’ operations, until the completion of the administrative proceedings

relating to the proposed merger now pending before the Federal Trade Commission;

       IT IS FURTHER ORDERED that Defendants shall take any and all necessary steps to

prevent any of their officers, directors, domestic or foreign agents, divisions, subsidiaries,

affiliates, partnerships, or joint ventures from consummating, directly or indirectly, any such

transaction, or otherwise effecting any combination between Defendants;
      Case 1:24-cv-03109-JLR         Document 121-1         Filed 08/06/24     Page 2 of 2




         IT IS FURTHER ORDERED that Defendants are directed to maintain the status quo until

Either: (1) the completion of all legal proceedings by the Federal Trade Commission relating to

the proposed merger, including all appeals, or (2) further order of the Court, including upon the

request of the Federal Trade Commission, before completion of such legal proceedings;

         IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for the

purposes described above and for the duration of this Order, or as otherwise ordered by the

Court.

         IT IS SO ORDERED.



Dated: _____________, 2024



                                                            ______________________________
                                                            Honorable Jennifer L. Rochon
                                                            United States District Judge
                                                            Southern District of New York




                                                2
